         Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 1 of 17




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
                                          )
            v.                            )                         Case No. 22-cr-200 (APM)
                                          )
PETER K. NAVARRO,                         )
                                          )
      Defendant.                          )
_________________________________________ )

                                    [Draft] JURY INSTRUCTIONS

        Ladies and gentlemen, the time has now come when all of the evidence is in. It is now up to

me to instruct you on the law. Before we talk about the specific charges alleged here and some of the

specific issues in this case, I want to take a few moments to talk about some general rules of law. Some

of these will repeat what I told you in my preliminary instructions.

                                         Function of the Court

        My function is to conduct this trial in an orderly, fair, and efficient manner; to rule on questions

of law; and to instruct you on the law that applies in this case.

        It is your duty to accept the law as I instruct you. You should consider all the instructions as a

whole. You may not ignore or refuse to follow any of them.

                                          Function of the Jury

        Your function, as the jury, is to determine what the facts are in this case. You are the sole

judges of the facts. While it is my responsibility to decide what is admitted as evidence during the trial,

you alone decide what weight, if any, to give to that evidence. You alone decide the credibility or

believability of the witnesses.
         Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 2 of 17




        You should determine the facts without prejudice, fear, sympathy, or favoritism. You should

not be improperly influenced by anyone’s race, ethnic origin, gender, or political leanings. Decide the

case solely from a fair consideration of the evidence.

        You may not take anything I may have said or done as indicating how I think you should decide

this case. If you believe that I have expressed or indicated any such opinion, you should ignore it. The

verdict in this case is your sole and exclusive responsibility.

                                     Jury’s Recollection Controls

        If any reference by the court or the attorneys to the evidence does not coincide with your own

recollection of the evidence, it is your recollection that should control during your deliberations.

                                         Notetaking by Jurors

        During the trial, I have permitted those jurors who wanted to do so to take notes. You may take

your notebooks with you to the jury room and use them during your deliberations if you wish. As I

told you at the beginning of the trial, your notes are only to be an aid to your memory. They are not

evidence in the case, and they should not replace your own memory of the evidence. Those jurors who

have not taken notes should rely on their own memory of the evidence. The notes are intended to be

for the notetaker’s own personal use.

                            Burden of Proof – Presumption of Innocence

        Every defendant in a criminal case is presumed to be innocent. This presumption of innocence

remains with the defendant throughout the trial unless and until the government has proven he or she

is guilty beyond a reasonable doubt. This burden never shifts throughout the trial. The law does not

require Dr. Navarro to prove his innocence or to produce any evidence at all. If you find that the

government has proven beyond a reasonable doubt every element of a particular offense with which

Dr. Navarro is charged, it is your duty to find him guilty of that offense. On the other hand, if you find

                                                    2
         Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 3 of 17




the government has failed to prove any element of a particular offense beyond a reasonable doubt, you

must find Dr. Navarro not guilty of that offense.

                                     Reasonable Doubt – Defined

        The government has the burden of proving Dr. Navarro guilty beyond a reasonable doubt. In

civil cases, it is only necessary to prove that a fact is more likely true than not, or, in some cases, that

its truth is highly probable. In criminal cases such as this one, the government’s proof must be more

powerful than that. It must be beyond a reasonable doubt. Reasonable doubt, as the name implies, is a

doubt based on reason—a doubt for which you have a reason based upon the evidence or lack of

evidence in the case. If, after careful, honest, and impartial consideration of all the evidence, you cannot

say that you are firmly convinced of the defendant’s guilt, then you have a reasonable doubt.

        Reasonable doubt is the kind of doubt that would cause a reasonable person, after careful and

thoughtful reflection, to hesitate to act in the graver or more important matters in life. However, it is

not an imaginary doubt, nor a doubt based on speculation or guesswork; it is a doubt based on reason.

The government is not required to prove guilt beyond all doubt, or to a mathematical or scientific

certainty. Its burden is to prove guilt beyond a reasonable doubt.

                               Nature of Charges Not to Be Considered

        One of the questions you were asked when we were selecting this jury was whether the nature

of the charges would affect your ability to render a fair and impartial verdict. There was a reason for

that question. You must not allow the nature of the charges themselves to affect your verdict. You must

consider only the evidence that has been presented in this case in rendering a fair and impartial verdict.

                                         Number of Witnesses

        The weight of the evidence is not necessarily determined by the number of witnesses testifying

for each side. Rather, you should consider all the facts and circumstances in evidence to determine

                                                     3
          Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 4 of 17




which of the witnesses you believe. You might find that the testimony of a smaller number of witnesses

on one side is more believable than the testimony of a greater number of witnesses on the other side or

you might find the opposite.

                                  Considering the Evidence in the Case

          During your deliberations, you may consider only the evidence properly admitted in this trial.

The evidence in this case was the sworn testimony of the witnesses, the exhibits that were admitted

into evidence, and the facts stipulated to by the parties.

          I may take what is called “judicial notice” of public acts, places, facts, and events that I consider

to be matters of common knowledge or matters that can be determined easily through undisputed

sources. In this case, I took judicial notice of [describe fact of which the court took judicial notice].

When I take judicial notice of a particular fact, you may regard that fact as proven evidence. [Because

you are the sole judges of the facts, however, you are not required to accept any fact that is judicially

noted.]

          During the trial, you were told that the parties had stipulated—that is, agreed—to certain facts.

You should consider any stipulation of fact to be undisputed evidence.

          During the trial, you were told that the parties had stipulated—that is, agreed—to what

testimony [name of witness] would have given if s/he had testified in this case. You should consider

this stipulated testimony to be exactly what s/he would have said had s/he testified here.]

          When you consider the evidence, you are permitted to draw, from the facts that you find have

been proven, such reasonable inferences as you feel are justified in the light of your experience. You

should give any evidence such weight as in your judgment it is fairly entitled to receive.




                                                       4
        Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 5 of 17




                               Statements of Counsel – Not Evidence

       The statements and arguments of the lawyers are not evidence. They are only intended to assist

you in understanding the evidence. Similarly, the questions of the lawyers are not evidence.

                                     Indictment Not Evidence

       The indictment is merely the formal way of accusing a person of a crime. You must not

consider the indictment as evidence of any kind—you may not consider it as any evidence of

Dr. Navarro’s guilt or draw any inference of guilt from it.

                                Direct and Circumstantial Evidence

       There are two types of evidence from which you may determine what the facts are in this

case—direct evidence and circumstantial evidence. When a witness, such as an eyewitness, asserts

actual knowledge of a fact, that witness’s testimony is direct evidence. On the other hand, evidence of

facts and circumstances from which reasonable inferences may be drawn is circumstantial evidence.

       Let me give you an example. Assume a person looked out a window and saw that snow was

falling. If he or she later testified in court about what they had seen, their testimony would be direct

evidence that snow was falling at the time he saw it happen. Assume, however, that a person looked

out a window and saw no snow on the ground, and then went to sleep and saw snow on the ground

after he woke up. That testimony about what had been seen would be circumstantial evidence that it

had snowed while the person was asleep.

       The law says that both direct and circumstantial evidence are acceptable as a means of proving

a fact. The law does not favor one form of evidence over another. It is for you to decide how much

weight to give to any particular evidence, whether it is direct or circumstantial. You are permitted to

give equal weight to both. Circumstantial evidence does not require a greater degree of certainty than



                                                   5
         Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 6 of 17




direct evidence. In reaching a verdict in this case, you should consider all of the evidence presented,

both direct and circumstantial.

                                  Inadmissible and Stricken Evidence

        The lawyers in this case sometimes objected when the other side asked a question, made an

argument, or offered evidence that the objecting lawyer believed was not proper. You must not hold

such objections against the lawyer who made them or the party they represent. It is the lawyers’

responsibility to object to evidence that they believe is not admissible.

        If, during the course of the trial, I sustained an objection to a lawyer’s question, you should

ignore the question, and you must not speculate as to what the answer would have been. If, after a

witness answered a question, I ruled that the answer should be stricken, you should ignore both the

question and the answer and they should play no part in your deliberations. Likewise, exhibits as to

which I have sustained an objection or that I ordered stricken are not evidence, and you must not

consider them in your deliberations.

                                       Credibility of Witnesses

        In determining whether the government has proved its case, you must consider and weigh the

testimony of all the witnesses who have appeared before you.

        You are the sole judge of the credibility of the witnesses. In other words, you alone are to

determine whether to believe any witness and the extent to which any witness should be believed.

        In reaching a conclusion as to the credibility of any witness, you may consider any matter that

may have a bearing on the subject. You may consider the demeanor and the behavior of the witness on

the witness stand; the witness’s manner of testifying; whether the witness impresses you as a truthful

person; whether the witness impresses you as having an accurate memory and recollection; whether

the witness has any motive for not telling the truth; whether the witness had a full opportunity to

                                                    6
         Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 7 of 17




observe the matters about which he or she has testified; whether the witness has any interest in the

outcome of this case, or friendship or hostility toward other people concerned with this case.

         Inconsistencies or discrepancies in the testimony of a witness, or between the testimony of

different witnesses, may or may not cause you to discredit such testimony. Two or more persons

witnessing an incident or transaction may see or hear it differently; an innocent mis-recollection, like

a failure of recollection, is not an uncommon experience. In weighing the effect of the inconsistency

or discrepancy, always consider whether it pertains to a matter of important or unimportant detail, and

whether the inconsistency or discrepancy results from innocent error or intentional falsehood.

         You may consider the reasonableness or unreasonableness, the probability or improbability, of

the testimony of a witness in determining whether to accept it as true and accurate. You may consider

whether the witness has been contradicted or supported by other credible evidence.

         If you believe that any witness has shown him or herself to be biased or prejudiced, for or

against either side in this trial, you may consider and determine whether such bias or prejudice has

colored the testimony of the witness so as to affect the desire and capability of that witness to tell the

truth.

         You should give the testimony of each witness such weight as in your judgment it is fairly

entitled to receive.

                               Law Enforcement Officer’s Testimony

         A law enforcement officer’s testimony should be considered by you just as any other evidence

in the case. In evaluating the officer’s credibility you should use the same guidelines that you apply

to the testimony of any witness. In no event should you give either greater or lesser weight to the

testimony of any witness merely because he or she is a police officer or law enforcement agent.



                                                    7
         Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 8 of 17




                                   Right of Defendant Not to Testify

        Every defendant in a criminal case has an absolute right not to testify. Dr. Navarro has chosen

to exercise this right. You must not hold this decision against him, and it would be improper for you

to speculate as to the reason or reasons for his decision. You must not assume the defendant is guilty

because he chose not to testify.

                                          Defendant as Witness

        A defendant also has a right to become a witness on his or her own behalf. Dr. Navarro has

chosen to exercise his right to testify. His testimony should not be disbelieved merely because he is a

defendant. In evaluating his testimony, however, you may consider the fact that the defendant has a

vital interest in the outcome of this trial. As with the testimony of any other witness, you should give

a defendant’s testimony as much weight as in your judgment it deserves.

                      Evaluation of Prior Inconsistent Statement of a Witness

        You have heard evidence that witnesses may have made statements on an earlier occasion and

that these statements may be inconsistent with the testimony here at trial. It is for you to decide whether

the witness made such a statement and whether in fact it was inconsistent with the witness’s testimony

here. If you find such an inconsistency, you may consider the earlier statement in judging the

credibility of the witness, but you may not consider it as evidence that what was said in the earlier

statement was true.

                       Evaluation of Prior Consistent Statement of a Witness

        You have heard evidence that [witness] made a statement during a prior proceeding and that

this statement may be consistent with his testimony here at trial. This earlier statement was brought to

your attention to help you in evaluating the credibility of [witness]. If you find that the earlier statement

is consistent with [witness] present testimony in court, you may consider this consistency in judging

                                                     8
         Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 9 of 17




his credibility as a witness here at trial but you may not use it as proof that what was said in the earlier

statement was true.

        It is for you to decide whether [witness] made a statement on an earlier occasion and whether

it was in fact consistent with his in-court testimony here.

                                 Inconsistent Statement by Defendant

        You have heard evidence that Dr. Navarro made statements in explanation of his actions that

may have been false or inconsistent. It is up to you to decide whether he made the statements, and

whether they were, in fact, false or inconsistent. If you find he did make such statements and that they

were false or inconsistent, you may consider such evidence as tending to show his feelings of guilt,

which you may, in turn, consider as tending to show actual guilt. On the other hand, you may also

consider that he may have given such statements for reasons consistent with his innocence.

        If you find that Dr. Navarro made a false or inconsistent statement in explanation of his actions,

you should give the testimony as much weight as in your judgment it deserves.

                                         Redacted Documents

        During the course of this trial, some exhibits were admitted in evidence. Sometimes only those

parts of an exhibit that are relevant to your deliberations were admitted. Where this has occurred, the

irrelevant parts of the exhibit were blacked out or otherwise removed, or a video may have been played

without audio. There are a variety of reasons why only a portion of an exhibit is admitted, including

that the other portions are inadmissible or implicate an individual’s privacy. As you examine the

exhibits, and you see where there appear to be omissions, you should consider only the portions that

were admitted. You should not guess as to what has been taken out, and you should not hold it against

any party. You are to decide the facts only from the evidence that is before you.



                                                     9
        Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 10 of 17




                                                Motive

        Motive is not an element of the offenses charged, and the government is not required to prove

motive in this case. You may, however, consider evidence of motive or lack of evidence of motive in

deciding whether or not the government has proved the charges beyond a reasonable doubt.

                                        Proof of State of Mind

        Someone’s intent or knowledge ordinarily cannot be proved directly, because there is no way

of knowing what a person is actually thinking, but you may infer someone’s intent or knowledge from

the surrounding circumstances. You may consider any statement made or acts done or omitted by

Dr. Navarro, and all other facts and circumstances received in evidence which indicate his intent or

knowledge.

        You may infer, but are not required to infer, that a person intends the natural and probable

consequence of acts he intentionally did or did not do. It is entirely up to you, however, to decide what

facts to find from the evidence received during this trial. You should consider all the circumstances in

evidence that you think are relevant in determining whether the government has proved beyond a

reasonable doubt that Dr. Navarro acted with the necessary state of mind.

        While a defendant must act with the intent as I describe below for each charged crime, this

need not be the defendant’s sole purpose. A defendant’s unlawful intent is not negated by the

simultaneous presence of another purpose for the defendant’s conduct.




                                                   10
       Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 11 of 17




                                      Summary of Charges

       Let me now turn to the specific charges in this case. Counts One and Two of the Indictment

charge the Defendant with the crime of contempt of Congress for willfully not providing testimony

and information to the U.S. House Select Committee to Investigate the January 6th Attack on the

United States Capitol, which I’ll refer to as the Select Committee. Count One charges the

Defendant with a willful failure to produce records on February 23, 2022. Count Two charges the

Defendant with a willful failure to provide testimony on March 2, 2022.

                        Contempt of Congress – Element of the Offense

       To find the Defendant guilty of contempt of Congress, you must find that the Government

proved each of the following elements beyond a reasonable doubt:

       First, that the Defendant was subpoenaed by the Select Committee to produce records
       (Count I) or provide testimony (Count II);

       Second, that the subpoena sought records (Count I) or testimony (Count II) pertinent to the
       investigation that the Select Committee was authorized to conduct;

       Third, that the Defendant failed to comply or refused to comply with the subpoena; and

       Fourth, that the Defendant’s failure or refusal to comply was willful.

       With respect to the second element, for the records (Count I) or testimony (Count II) sought

by the subpoena to be “pertinent,” the Government must prove that, at the time the Select

Committee issued the subpoena, the records of testimony sought could have related to the Select

Committee’s investigation in some way.

       With respect to the fourth element, the word “willful” means deliberate and intentional.

To be deliberate or intentional means that the failure to comply was not the result of inadvertence,

accident, or mistake.

                                                11
        Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 12 of 17




       To satisfy this element, the Government is not required to prove that the Defendant’s failure

or refusal to comply with the Select Committee’s subpoena was for an evil or a bad purpose. Nor

is the Government required to prove that the Defendant knew that the failure or refusal to comply

was a violation of the law.

       It is not a defense to contempt of Congress that the Defendant failed or refused to comply

because of his understanding or belief of what the law required or allowed or because of his

understanding or belief that he had a legal privilege, such as executive privilege, that excused him

from complying. All that the Government is required to prove beyond a reasonable doubt is that the

Defendant’s failure or refusal to comply was deliberate and intentional.

                                       Defendant’s Position

       [To be determined.]




                                                 12
        Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 13 of 17




        Before I excuse you to deliberate, I want to discuss a few final matters with you:

                                        Selection of Foreperson

        When you return to the jury room, you should first select a foreperson to preside over your

deliberations and to be your spokesperson here in court. There are no specific rules regarding how you

should select a foreperson. That is up to you. However, as you go about the task, be mindful of your

mission—to reach a fair and just verdict based on the evidence. Consider selecting a foreperson who

will be able to facilitate your discussions, who can help you organize the evidence, who will encourage

civility and mutual respect among all of you, who will invite each juror to speak up regarding his or

her views about the evidence, and who will promote a full and fair consideration of that evidence.

                     Cautionary Instruction on Communication and Research

        I would like to remind you that, in some cases, there may be reports in the newspaper or on the

radio, internet, or television concerning this case. If there should be such media coverage in this case,

you may be tempted to read, listen to, or watch it. You must not read, listen to, or watch such reports

because you must decide this case solely on the evidence presented in this courtroom. If any publicity

about this trial inadvertently comes to your attention, do not discuss it with other jurors or anyone else.

Just let me or my clerk know as soon after it happens as you can, and I will then briefly discuss it with

you.

        As you retire to the jury room to deliberate, I also wish to remind you of an instruction I gave

you at the beginning of the trial. During deliberations, you may not communicate with anyone not on

the jury about this case. This includes any electronic communication such as email or text or any

blogging about the case. In addition, you may not conduct any independent investigation during

deliberations. This means you may not conduct any research in person or electronically via the internet

or in another way.

                                                    13
        Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 14 of 17




             Communications Between Court and Jury During Jury’s Deliberations

        If it becomes necessary during your deliberations to communicate with me, you may send a

note by deputy, signed by your foreperson or by one or more members of the jury. No member of the

jury should try to communicate with me except by such a signed note, and I will never communicate

with any member of the jury on any matter concerning the merits of this case, except in writing or

orally here in open court.

        Bear in mind also that you are never, under any circumstances, to reveal to any person—not

the clerk or me—how jurors are voting until after you have reached a unanimous verdict. This means

that you should never tell me, in writing or in open court, how the jury is divided on any matter—for

example, 6-6 or 11-1, or in any other fashion—or whether the vote favors the government, the

defendant, or is on any other issue in the case.

                                      Jurors’ Duty to Deliberate

        It is your duty as jurors to consult with one another and to deliberate expecting to reach an

agreement. You must decide the case for yourself but you should do so only after thoroughly discussing

it with your fellow jurors. You should not hesitate to change an opinion when convinced that it is

wrong. You should not be influenced to vote in any way on any question just because another juror

favors a particular decision or holds an opinion different from your own. You should reach an

agreement only if you can do so in good conscience. In other words, you should not surrender your

honest beliefs about the effect or weight of evidence merely to return a verdict or solely because of

other jurors’ opinions.

                          Attitude and Conduct of Jurors in Deliberations

        The attitude and conduct of jurors at the beginning of their deliberations are matters of

considerable importance. It may not be useful for a juror, upon entering the jury room, to voice a strong

                                                   14
        Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 15 of 17




expression of an opinion on the case or to announce a determination to stand for a certain verdict.

When one does that at the outset, a sense of pride may cause that juror to hesitate to back away from

an announced position after a discussion of the case. Furthermore, many juries find it useful to avoid

an initial vote upon retiring to the jury room. Calmly reviewing and discussing the case at the beginning

of deliberations is often a more useful way to proceed. Remember that you are not partisans or

advocates in this matter, but you are judges of the facts.

                                 Multiple Counts – One Defendant

        Each count of the indictment charges a separate offense. You should consider each offense,

and the evidence which applies to it, separately, and you should return separate verdicts as to each

count. The fact that you may find the defendant guilty or not guilty on any one count of the

indictment should not influence your verdict with respect to any other count of the indictment.

                                         Unanimity of Verdict

        A verdict must represent the considered judgment of each juror, and in order to return a verdict,

each juror must agree on the verdict. In other words, your verdicts must be unanimous.

                                 Possible Punishment Not Relevant

        The question of possible punishment of the defendant in the event of a conviction is not a

concern of yours and should not enter into or influence your deliberations in any way. The duty of

imposing sentence in the event of a conviction rests exclusively with me. Your verdict should be based

solely on the evidence in this case, and you should not consider the matter of punishment at all.

                                    Exhibits During Deliberations

        I will be sending into the jury room with you the exhibits that have been admitted into evidence.

You may examine any or all of them as you consider your verdicts. Please keep in mind that exhibits



                                                   15
        Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 16 of 17




that were only marked for identification but were not admitted into evidence will not be given to you

to examine or consider in reaching your verdict.

                        Furnishing the Jury with a Copy of the Instructions

        I will provide each of you with a copy of my instructions. During your deliberations, you may,

if you want, refer to these instructions. While you may refer to any particular portion of the instructions,

you are to consider the instructions as a whole and you may not follow some and ignore others. If you

have any questions about the instructions, you should feel free to send me a note. Please return your

instructions to me when your verdict is rendered.

                                      Verdict Form Explanation

        You will be provided with a Verdict Form for use when you have concluded your deliberations.

The form is not evidence in this case, and nothing in it should be taken to suggest or convey any opinion

by me as to what the verdict should be. Nothing in the form replaces the instructions of law I have

already given you, and nothing in it replaces or modifies the instructions about the elements which the

government must prove beyond a reasonable doubt. The form is meant only to assist you in recording

your verdict.

                                         Delivering the Verdict

        When you have reached your verdict, just send me a note telling me you have reached your

verdict, and have your foreperson sign the note. Do not tell me what your verdict is. The foreperson

should fill out and sign the verdict form that will be provided. We will then call you into the courtroom

and ask you your verdict in open court.

                                       Excusing Alternate Jurors

        The last thing I must do before you begin your deliberations is to excuse the alternate jurors.

As I told you before, the selection of alternates was an entirely random process; it’s nothing personal.

                                                    16
        Case 1:22-cr-00200-APM Document 131 Filed 09/13/23 Page 17 of 17




We selected the alternate seats before any of you entered the courtroom. Since the rest of you have

remained healthy and attentive, I can now excuse the jurors in seats 3 and 7.

        Before you leave, I am going to ask you to tear out a page from your notebook, and to write

down your name and daytime phone number and hand this to the clerk. I do this because it is possible,

though unlikely, that we will need to summon you back to rejoin the jury in case something happens

to a regular juror. Since that possibility exists, I am also going to instruct you not to discuss the case

with anyone until we call you. My earlier instruction on use of the Internet still applies; do not research

this case or communicate about it on the Internet. In all likelihood, we will be calling you to tell you

there has been a verdict and you are now free to discuss the case; there is, however, the small chance

that we will need to bring you back on to the jury. Thank you very much for your service, and please

report back to the jury office to turn in your badge on your way out.

        You may now retire to begin your deliberations.




                                                    17
